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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

CERTAIN UNDERWRITERS AT Civil Action No.
LLOYDS, LONDON, SUBSCRIBING TO
POLICY NO, SYN-108553,

Plaintiffs,
COMPLAINT
v.

CRESCIP FINNEGAN LAW FIRM, LLC,
PETER J. CRESCI, CRESCI LAW FIRM,
LLC, CRESCIP LIMITED LIABILITY
COMPANY and CRESCIP FINNEGAN,
LLC,

Defendants.

 

 

Plaintiffs, CERTAIN UNDERWRITERS AT LLOYDS, LONDON, SUBSCRIBING TO
POLICY NO. SYN-108553 (“Underwriters”), by way of Complaint against Defendants,
CRESCIP FINNEGAN LAW FIRM, LLC, PETER J. CRESCI, CRESCI LAW FIRM, LLC,
CRESCIP LIMITED LIABILITY COMPANY and CRESCIP FINNEGAN, LLC (collectively,
“Cresci Defendants”), state as follows:

1, This action seeks a declaratory judgment pursuant to the Federal Declaratory
Judgment Act, 28 U.S.C, §§ 2201 and 2202 as to the rights and obligations of the parties under
an insurance policy issued by Underwriters to Crescip Finnegan Law Firm, LLC with respect to
claims for alleged insurance coverage under a Lawyers Professional Liability Policy bearing
Policy No. SYN-108553 issued to Crescip Finnegan Law Firm, LLC, effective from October 5,

2017 to October 5, 2018 the (the “Policy”) including the actions styled: (1) Pamela O'Donnell,
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et al. vy. Peter J. Cresci, et al, Docket No. HUD-L-000397-18, filed in the Superior Court of
New Jersey, Hudson County, in which claims have been asserted against Peter J. Cresci, Cresci
Law Firm, LLC, Crescip Limited Liability Company and Crescip Finnegan, LLC (the
“O'Donnell Action’); and (2) Deborah L. Shine v. Peter Cresci, et al., Docket No. HUD-L-
005248-17, filed in the Superior Court of New Jersey, Hudson County, in which claims have
been asserted against Peter Cresci and Cresci Law Firm, LLC (the “Shine Action”) (collectively,

the “Underlying Actions”).

The Parties
2. Plaintiffs, Underwriters, are foreign citizens, located in London, England.
3. On information and belief, Defendant, Crescip Finnegan Law Firm, LLC, is a

New Jersey limited liability company, and all of its members are citizens and residents of New
Jersey.

| 4:z On information and belief, Defendant, Cresci Law Firm, LLC, was a limited
ability company chartered under New Jersey law, and all of its members are citizens and
residents of New Jersey.

5. On information and belief, Defendant, Crescip Limited Liability Company, is a
limited liability company chartered under New Jersey law, and all of its members are citizens
and residents of New Jersey.

6. On information and belief, Defendant, Crescip Finnegan, LLC, was a limited
liability company chartered under New Jersey law, and all of its members are citizens and
residents of New Jersey.

7. On information and belief, Peter J. Cresci is a citizen and resident of New Jersey,
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Jurisdiction and Venue

8. This Court has jurisdiction over this action pursuant to 28 U.S.C. Section
1332(a)(1).
9, There is complete diversity as between the plaintiff and the defendants, who are

citizens of different states.

10. The amount in controversy, including the potential costs of both defending and
indemnifying Claimants in the Underlying Actions, exceeds $75,000, exclusive of interests and
costs.

11, Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and (c),

12. An actual and justiciable controversy exists between the parties because
Underwriters have disclaimed coverage for the Underlying Actions.

The Underwriters Policy

13. Underwriters issued a Lawyers Professional Liability Policy to named insured,
Crescip Finnegan Law Firm, LLC, policy number SYN-108553, effective from October 5, 2017
to October 5, 2018 (the “Policy”). A copy of the Policy is attached to this complaint as Exhibit
A.

14. The Policy provides liability coverage of $1,000,000 per Claim, subject to a $1
million aggregate limit of liability and a $5,000 each Claim deductible. The Policy is also
subject to an October 5, 2017 Retroactive Date.

15. The Policy’s Insuring Agreement provides as follows:

The Underwriters will pay on behalf of the INSURED all sums in
excess of the deductible that the INSURED becomes legally
obligated to pay as DAMAGES as a result of any CLAIM first
made against the INSURED during the POLICY PERIOD, and

reported to Underwriters in writing during the POLICY PERIOD
by reason of any act, error, omission or PERSONAL INJURY
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arising out of Professional Services rendered or that should have
been rendered by the INSURED or by any person for whose
negligent act, error, omission or PERSONAL INJURY the
INSURED is legally liable, and arising out of the conduct of the
INSURED’s profession as a Lawyer or Notary Public, provided
always that such act, error, omission or PERSONAL INJURY
occurs:

A. During the POLICY PERIOD; or

B. on or after to the RETROACTIVE DATE, if any, and prior to
the effective date of this policy,

16. The Policy defines INSURED, in relevant part, as “[t]he Named Insured shown in
the Declarations and any PREDECESSOR FIRM thereof’ or “any lawyer or professional
corporation who was or is a partner, officer, director or employee of the Named Insured, but only
as respects professional services rendered on behalf of the Named Insured or any
PREDECESSOR FIRM thereoff.]” The Crescip Finnegan Law Firm, LLC is the Named Insured
shown in the Declarations. The term PREDECESSOR FIRM is defined as “any legal entity that
was engaged in the practice of law to whose financial assets and liabilities the Named Insured is
the majority successor in interest.”

17. The Policy includes a Specific Lawyer/Entity Exclusion Endorsement (“Specific
Lawyer/Entity Exclusion”), which provides that “[t]his policy does not apply to any CLAIM, act,
error, omission, circumstance or PERSONAL INJURY involving the individual lawyer or entity

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shown in the Schedule below.” The Schedule in the Specific Lawyer/Entity Exclusion states
“Peter J. Cresci.”

18. The Policy includes Exclusion M (the “Prior Knowledge Exclusion”), which bars
coverage for any CLAIM “based upon, arising out of, or attributable to any fact, circumstance or

situation, which, prior to the inception date of the Policy, any INSURED knew or reasonably

should have known might give rise to a CLAIM.”
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19, Section I. of the Policy contains the following condition:

A. No action shail lie against the Underwriters unless, as a
condition precedent thereto, the INSURED has fully complied
with all the terms of this policy, nor until the amount of the
INSURED's obligation to pay has been finally determined
either by judgment against the INSURED after actual trial or
by written agreement of the INSURED, the claimant and the
Underwriters. Any person or organization or the legal
representative thereof who has secured such judgment or
written agreement will thereafter be entitled to recover under
this policy to the extent of the insurance afforded by this
policy.

20. Section VII. of the Policy contains the following conditions:

B. The INSURED must cooperate with the Underwriters in the
defense, investigation and settlement of any CLAIM. Upon the
Underwriter’s request, the INSURED must submit to
examination or questioning, attend hearings, depositions and
trials and assist in effecting settlements, securing and giving

evidence and obtaining the attendance of witnesses in the

conduct of suits.
* * x

D. The INSURED shall not, without prior written consent of the
Underwriters, make any payment, admit liability, settle any
CLAIM, assume any obligations, agree to arbitration or any
similar means of resolution of any dispute, waive any rights or
incur any CLAIMS EXPENSES on behaif of the Underwriters.
The O’Donnell Action
21. The operative Complaint in the O’Donnell Action was filed on January 29, 2018.
A copy of the O'Donnell Complaint is attached as Exhibit B.
22, The O'Donnell Action alleges, in pertinent part, that Defendants Peter Cresci,
Cresci Law Firm, LLC, Crescip Limited Liability Company and Crescip Finnegan, LLC (the
“O’Donnell Defendants”) represented the underlying plaintiff, Pamela O’ Donnell, in connection

with a wrongful death Action arising out of the death of Ms, O’Donnell’s husband and daughter

in a vehicle collision. Ms. O’Donnell alleges that the O’Donnell Defendants committed legal
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malpractice by failing to comply with the statute of limitations applicable to Ms. O’Donnell’s
claims against the New Jersey Turnpike Authority, resulting in a dismissal of those claims,

23, The O'Donnell Action specifically alleges that, as early as February 23, 2016, Ms.
O’Donnell retained the O’Donnell Defendants to represent her in connection with a lawsuit
against all potentially liable parties, including the New Jersey Turnpike Authority, with regard to
a fatal February 22, 2016 vehicle collision that resulted in the death of Ms, O’Donneil’s husband
and daughter. Exhibit B at {J 9, 15.

24, The O'Donnell Action claims that the O’Donnel! Defendants failed to comply
with the mandatory pre-suit notice requirements of the New Jersey Tort Claims Act by not
serving a Notice of Claim directly upon the New Jersey Turnpike Authority within 90 days of the
accrual of Ms, O’Donnell’s cause of action. Exhibit B at § 21. Rather, the O’Donnell Action
alleges that the O’Donnell Defendants improperly served the State of New Jersey, Tort and
Contract Unit with a Notice of Claim on or about May 16, 2016. Complaint at 716. The time to
properly serve the New Jersey Turnpike Authority expired in May 2016. See Exhibit B at § 15.

25. Ms. O’Donnell subsequently discharged the O’Donnell Defendants on or about
August 24, 2016 and retained a new law firm, which filed a complaint on October 8, 2016
alleging wrongful death, survivorship and Green v. Bittner on behalf of Ms. O’Donnell, which
named the New Jersey Turnpike Authority as a defendant. Exhibit B at {J 23-24.

26. The New Jersey Turnpike Authority filed a motion to dismiss the Wrongful Death
Action on October 7, 2016 for failure to file a timely Notice of Claim, which the trial court
denied, Exhibit B at {§ 25-27. The O’Donnell Action alleges that the New Jersey Turnpike
appealed the trial court’s decision, and the Appellate Division issued a written opinion on

January 23, 2018 reversing the trial court’s denial of the New Jersey Turnpike Authority’s
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motion to dismiss. Exhibit B at | 29. The Appellate Division specifically held that the
O’Donnell Defendants failed to notify the New Jersey Turnpike Authority within the 90-day Tort
Claim Notice period. Exhibit B at ¥ 30.

27. The O'Donnell Action alleges that the O’Donnell Defendants’ conduct fell
outside acceptable professional standards and prevented Ms. O’Donnell from litigating her
claims against and recovering compensation from the New Jersey Turnpike Authority. Exhibit B
at §f 34.

28. After several alleged failed attempts to serve the O’Donnell Defendants with the
O'Donnell Action, the Superior Court of New Jersey, Hudson County granted the O’Donnell
claimants’ Motion for Substituted Service of the O’Donnell Action directly upon Underwriters.

29. Underwriters issued coverage position letters to the O’Donnell Defendants
disclaiming any obligation to indemnify the O’ Donnell Defendants and reserving all rights under
the Policy with respect to the O’Donnell Action. A copy of the letters issued to the O’Donnell
Defendants are attached hereto as Exhibit C.

30. Given that substituted service of the O'Donnell Action has been ordered and
made upon Underwriters, and the O’ Donnell Defendants failed to cooperate with Underwriters in
any fashion as required under the Policy, Underwriters are proactively seeking a judicial
declaration of their rights and responsibilities as respects the O'Donnell Defendants and the
O'Donnell Action.

The Shine Action
31. The operative Complaint in the Shine Action was filed on December 28, 2017, A

copy of the Shine Complaint is attached hereto as Exhibit D.
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32. The Shine Action alleges, in pertinent part, that Ms. Shine sent a letter to her
employer, the Bayonne Board of Education (the “Board”) on August 26, 2010 alleging
discrimination based upon the Board’s failure to provide Ms. Shine with a permanent
administrative position. Exhibit D at { 8.

33, On November 18, 2010, Ms. Shine allegedly retained Defendants Peter Cresci and
Cresci Law Firm, LLC (the “Shine Defendants”) to represent her in connection with her claims
against the Board under the First and Fourteenth Amendments, 42 U.S.C. § 1983, Title VIE of the
Civil Rights Act, Equal Pay Act, Title [X of the Education Amendments on 1972, Conscientious
Employment Act (“CEPA”) and common law claims of constructive discharge and breach of the
implied covenant of good fair dealing arising from her employment with and constructive
discharge by the Board (the “Discrimination Action”). Exhibit D at 1.

34. | Ms. Shine asserts that the Shine Defendants failed to timely file a charge of
discrimination with the EEOC within 180 days of the alleged discriminatory practice, or 300
days where there was an appropriate cross-filing of a charge with a state agency. Exhibit D at {
15-16.

35. Ms. Shine alleges that although the Shine Defendants never obtained the required
right to sue letter from the EEOC, they proceeded to file a complaint on Ms. Shine’s behaif in the
United States District Court for the District of New Jersey on April 30, 2013. Exhibit D at § 17.

36, Ms. Shine contends that the Third Circuit Court of Appeals held that the statute of
limitations applicable to Ms. Shine’s claims under Title VII, Title IX and 42 U.S.C. § 1983
began to run on August 26, 2010, when Ms. Shine issued her letter to the Board and that the
statute of limitations applicable to her Equal Pay Act claim began to run when she received her

last offending paycheck. Exhibit D at § 18.
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37. The Third Circuit Court of Appeals issued its ruling on September 22, 2015, A
copy of the ruling is attached hereto as Exhibit E.

38. Ms. Shine alleges causes of action for: (1) negligence and (2) breach of contract.
See Exhibit D.

39. Underwriters issued coverage position letters to the Cresci Defendants
disclaiming any obligation to defend or indemnify the Cresci Defendants and reserving all rights
under the Policy with respect to the Shine Action. A copy of the letters are attached as Exhibit F.

COUNT I
Declaratory Judgment
There Is No Duty To Defend or Indemnify With Respect To The O’Donnell Action
Because The Policy’s Specific Lawyer/Entity Exclusion Precludes Coverage.

40, Underwriters incorporate Paragraphs | through 39 as though fully set forth herein.

41. Under the Policy’s Specific Lawyer/Entity Exclusion, coverage does not apply to
any “CLAIM, act, error, omission, circumstance or PERSONAL INJURY involving” Peter J.
Cresci.

42. The allegations in the O’Donnell Action relate to Peter Cresci’s alleged
malpractice in connection with his representation of Ms. O’ Donnell in her wrongful death action.

43, As such, the O’Donnell Action alleges a CLAIM, act, error, omission,
circumstance or PERSONAL INJURY involving Peter Cresci.

44. Accordingly, Underwriters owe no duty to defend or indemnify the Cresci
Defendants for the O’Donnell Action under the Policy.

45. There is an actual and justiciable controversy between the parties, which may be
determined by a judgment or order of this Court.

46. This Court has the power to declare and adjudicate the rights and liabilities of the

parties hereto under the terms and provisions of the policies of insurance referred to herein and to
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adjudicate the final rights of all parties and to give such other and further relief as may be
necessary to enforce the same.
COUNT 1
Declaratory Judgment
There Is No Duty To Defend or Indemnify With Respect To The Shine Action
Because The Policy’s Specific Lawyer/Entity Exclusion Precludes Coverage.

47, Underwriters incorporate Paragraphs | through 46 as though fully set forth herein.

48. Under the Policy’s Specific Lawyer/Entity Exclusion, coverage does not apply to
any “CLAIM, act, error, omission, circumstance or PERSONAL INJURY invoiving” Peter J.
Cresci.

49, The allegations in the Shine Action relate to Peter Cresci’s alleged malpractice in
connection with his representation of Ms. Shine in her discrimination action.

50. As such, the Shine Action alleges a CLAIM, act, error, omission, circumstance or
PERSONAL INJURY involving Peter Cresci.

51, Accordingly, Underwriters owe no duty to defend or indemnify the Cresci
Defendants for the Shine Action under the Policy.

52. There is an actual and justiciable controversy between the parties, which may be
determined by a judgment or order of this Court.

53, This Court has the power to declare and adjudicate the rights and liabilities of the
parties hereto under the terms and provisions of the policies of insurance referred to herein and to
adjudicate the final rights of all parties and to give such other and further relief'as may be

COUNT HI
Declaratory Judgment
There Is No Duty To Defend or Indemnify With Respect To The O’Donneil Action

Because The Policy’s Insuring Agreement is Not Triggered

54, Underwriters incorporate Paragraphs 1 through 53 as though fully set forth herein.

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55. The Policy’s Insuring Agreement is only triggered, in relevant part, with respect
to an act, error, omission or PERSONAL INJURY that occurs “during the POLICY PERIOD” or
“on or after to the RETROACTIVE DATE, if any, and prior to the effective date of this Policy.”

56. The Policy is subject to the October 5, 2017 RETROACTIVE DATE, as set forth
in the Policy Declaration.

57. | The O'Donnell Action alleges that the O’Donnell Defendants were engaged as
early as February 23, 2016 and were discharged on August 24, 2016.

58. Further, the O'Donnell Action asserts that the time to properly serve the New
Jersey Turnpike Authority with the Notice of Claim expired in May 2016, and that the
O’Donnell Defendants committed malpractice by failing to comply with that deadline.

59. As such, all of the acts, errors or omissions which form the subject of the
O’Donnell Action took place prior to the Policy’s October 5, 2017 RETROACTIVE DATE.

60. Accordingly, the Policy’s Insuring Agreement is not triggered with respect to the
O’Donnell Action, and Underwriters owe no duty to defend or indemnify the Cresci Defendants |
for the O'Donnel! Action under the Policy.

61. There is an actual and justiciable controversy between the parties, which may be
determined by a judgment or order of this Court,

62. This Court has the power to declare and adjudicate the rights and liabilities of the
parties hereto under the terms and provisions of the policies of insurance referred to herein and to
adjudicate the final rights of all parties and to give such other and further relief as may be

necessary to enforce the same.

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COUNT IV
Declaratory Judgment
There Is No Duty To Defend Or Indemnify With Respect To The Shine Action
Because The Policy’s Insuring Agreement is Not Triggered.

63. Underwriters incorporate Paragraphs | through 62 as though fully set forth herein.

64. The Policy’s Insuring Agreement is only triggered, in relevant part, with respect
to an act, error, omission or PERSONAL INJURY that occurs “during the POLICY PERIOD” or
“on or after to the RETROACTIVE DATE, if any, and prior to the effective date of this Policy.”

65. The Policy is subject to the October 5, 2017 RETROACTIVE DATE, as set forth
in the Policy Declaration.

66. | The Shine Action alleges that Ms. Shine’s claims were time-barred at the time the
Shine Defendants filed the Complaint in the Discrimination Action on April 20, 2013 and that
the Shine Defendants committed malpractice by failing to file a charge of discrimination with the
EEOC before that date.

67. As such, all of the acts, errors or omissions which form the subject of the Shine
Action took place prior to the Policy’s October 5, 2017 RETROACTIVE DATE.

68. Accordingly, the Policy’s Insuring Agreement is not triggered with respect to the
Shine Action, and Underwriters owe no duty to defend or indemnify the Cresci Defendants for
the Shine Action under the Policy.

69. ‘There is an actual and justiciable controversy between the parties, which may be
determined by a judgment or order of this Court.

70. This Court has the power to declare and adjudicate the rights and liabilities of the
parties hereto under the terms and provisions of the policies of insurance referred to herein and to

adjudicate the final rights of all parties and to give such other and further relicf as may be

necessary to enforce the same.

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COUNT V
Declaratory Judgment
There Is No Coverage Available for the O’Donnell Action Because

The Policy’s Prior Knowledge Exclusion Precludes Coverage.

71. Underwriters incorporate Paragraphs 1 through 70 as though fully set forth herein.

72, The Prior Knowledge Exclusion in the Policy bars coverage for any CLAIM
“based upon, arising out of, or attributable to any fact, circumstance or situation, which, prior to
the inception date of the Policy, any INSURED knew or reasonably should have known might
give rise to a CLAIM.” The Policy incepted on October 5, 2017.

73. The O’Donnell Action alleges the O’Donnell Defendants were discharged on
August 24, 2016.

74. Further, the O'Donnell Action asserts that the time to properly serve the New
Jersey Turnpike Authority with the Notice of Claim expired in May 2016,

75. Given that the O'Donnell Defendants failed to comply with the deadline to serve
the Notice of Claim and were discharged prior to the inception of the Policy on October 5, 2017,
the O’Donneill Action is based upon, arises out of or is attributable to any fact, circumstance or
situation which the O’Donnell Defendants knew or reasonably should have known might give
rise to a CLAIM prior to the inception of the Policy.

76. Accordingly, the Prior Knowledge Exclusion applies, and Underwriters owe no
duty to defend or indemnify the Cresci Defendants for the O’Donnell Action under the Policy.

77. There is an actual and justiciable controversy between the parties, which may be
determined by a judgment or order of this Court.

78. This Court has the power to declare and adjudicate the rights and liabilities of the

parties hereto under the terms and provisions of the policies of insurance referred to herein and to

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adjudicate the final rights of all parties and to give such other and further relief as may be
necessary to enforce the same.
COUNT VI

Declaratory Judgment
There Is No Coverage Available for the Shine Action Because

The Policy’s Prior Knowledge Exclusion Precludes Coverage.

79, Underwriters incorporate Paragraphs 1 through 78 as though fully set forth herein.

80. The Prior Knowledge Exclusion in the Policy bars coverage for any CLAIM
“based upon, arising out of, or attributable to any fact, circumstance or situation, which, prior to
the inception date of the Policy, any INSURED knew or reasonably should have known might
give rise toa CLAIM.” The Policy incepted on October 5, 2017.

81. The Shine Action alleges that Ms. Shine’s claims were time-barred at the time the
Shine Defendants filed the Complaint in the Discrimination Action on April 20, 2013 and that
the Shine Defendants committed malpractice by failing to file a charge of discrimination with the
EEOC before that date.

82, On September 22, 2015, the Third Circuit Court of Appeals issued its ruling
affirming the District Court’s holding that the statute of limitations had expired prior to the time
the Shine Defendants filed the Shine Action.

83, Given that the Third Circuit Court of Appeals confirmed that the Shine
Defendants failed to comply with the statute of limitations prior to the inception of the Policy on
October 5, 2017, the Shine Action based upon, arises out of or is attributable to any fact,
circumstance or situation which the Shine Defendants knew or reasonably should have known
might give rise to a CLAIM prior to the inception of the Policy.

84. Accordingly, the Prior Knowledge Exclusion applies, and Underwriters owe no

duty to defend or indemnify the Cresci Defendants for the Shine Action under the Policy.

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85, There is an actual and justiciable controversy between the parties, which may be
determined by a judgment or order of this Court.

86. This Court has the power to declare and adjudicate the rights and liabilities of the
parties hereto under the terms and provisions of the policies of insurance referred to herein and to
adjudicate the final rights of all parties and to give such other and further relief as may be
necessary to enforce the same.

COUNT Vil

Declaratory Judgment
There Is No Coverage Available For The O’Dennell Action

Because The Cresci Defendants Breached the Policy’s Cooperation Clause.

87. Underwriters incorporate Paragraphs | through 86 as though fully set forth herein,

88. Section VIILB. of the Policy requires the INSURED to cooperate with
Underwriters in the defense, investigation and settlement of any CLAIM.

89, In the O’Donnell Action, the claimants have sought to the Court has entered an
Order for Substituted Service.

90. | Underwriters have attempted to contact the Cresci Defendants on multiple
occasions regarding the O'Donnell Action but the Cresci Defendants have not cooperated with
Underwriters in the defense and investigation of the O’Donnell Action.

91. The Cresci Defendants have, therefore, failed to cooperate with Underwriters in
the defense, investigation and settlement of the O'Donnell Action and are in breach of the
Policy’s Cooperation Clause.

92. As a result, the Cresci Defendants have forfeited coverage under the Policy, and
Underwriters do not have a duty to defend or indemnify the Cresci Defendants in the O’Donnell

Action.

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93. Section VIILD. of the Policy provides that the INSURED shall not, without the
prior written consent of the Underwriters, make any payment, admit liability, settle any CLAIM,
or assume any obligations.

94, Additionally, Section I. of the Policy provides as a condition precedent to any
action against Underwriters the INSURED must fully comply with all the Policy’s terms and that
no action may be brought against Underwriters until the amount of the INSURED's obligation to
pay has been determined either by a judgment against the INSURED or by a written agreement
of the INSURED, the claimant and Underwriters.

95. Accordingly, to the extent that the Cresci Defendants agree to any settlement or
any assignment in the O’Donell Action without Underwriters’ consent, they will be in breach of
the Policy and will have further forfeited coverage under the Policy for the O’Donnell Action.

96. There is an actual and justiciable controversy between the parties, which may be
determined by a judgment or order of this Court.

97. This Court has the power to declare and adjudicate the rights and liabilities of the
parties hereto under the terms and provisions of the policies of insurance referred to herein and to
adjudicate the final rights of all parties and to give such other and further relief as may be
necessary to enforce the same,

COUNT Vill

Declaratory Judgment
There Is No Coverage Available For The Shine Action

Because The Cresci Defendants Breached the Policy’s Cooperation Clause.

98. Underwriters incorporate Paragraphs 1 through 97 as though fully set forth herein.
99, Section VIILB. in the Policy requires the INSURED to cooperate with

Underwriters in the defense, investigation and settlement of any CLAIM.

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100. Underwriters have attempted to contact the Cresci Defendants on multiple
occasions regarding the Shine Action but the Cresci Defendants have not cooperated with
Underwriters in the defense and investigation of the Shine Action.

101. The Cresci Defendants have therefore failed to cooperate with Underwriters in the
defense, investigation and settlement of the Shine Action and are in breach of the Policy’s
Cooperation Clause.

102. Asa result, the Cresci Defendants have forfeited coverage under the Policy, and
Underwriters do not have a duty to defend or indemnify the Cresci Defendants in the Shine
Action.

103. Section VIILD. of the Policy provides that the INSURED shall not, without the
prior written consent of the Underwriters, make any payment, admit liability, settle any CLAIM,
or assume any obligations.

104. Additionally, Section I. of the Policy provides as a condition precedent to any
action against Underwriters the INSURED must fully comply with all the Policy’s terms and that
no action may be brought against Underwriters until the amount of the INSURED's obligation to
pay has been determined either by a judgment against the INSURED or by a written agreement
of the INSURED, the claimant and Underwriters.

105. Accordingly, to the extent that the Cresci Defendants agree to any settlement or
any assignment in the Shine Action without Underwriters’ consent, they will be in breach of the
Policy and will have further forfeited coverage under the Policy for the O’Donnell Action,

106, There is an actual and justiciable controversy between the parties, which may be

determined by a judgment or order of this Court.

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107. This Court has the power to declare and adjudicate the rights and Habilities of the
parties hereto under the terms and provisions of the policies of insurance referred to herein and to
adjudicate the final rights of ali parties and to give such other and further relief as may be

necessary to enforce the same.

WHEREFORE, the Plaintiff, Certain Underwriters at Lloyds, London, Subscribing to
Policy No, SYN-108553, request that this court enter judgment in their favor and against the

O’ Donnell Defendants as follows:

1, Declaring that the Policy does not afford coverage to the Cresci Defendants for
the O'Donnell Action;
2. Declaring that the Policy does not afford coverage to the Cresci Defendants for

the Shine Action;

3, Declaring that Underwriters have no duty to defend the Cresci Defendants in the
O’Donnell Action and are relieved of any further duty to defend the Cresci Defendants in the
O'Donnell Action;

4, Declaring that Underwriters have no duty to defend the Cresci Defendants in the
Shine Action;

5. Declaring that Underwriters have no duty to indemnify the Cresci Defendants for
any judgment entered or settlement reached in the O’Donnell Action;

6. Declaring that Underwriters have no duty to indemnify the Cresci Defendants for
any judgment entered or settlement reached in the Shine Action;

7. Declaring that Underwriters have no obligation to pay any judgment entered
against the Cresci Defendants or settlements reached by the Cresci Defendants in the O’Donnell

Action;

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8. Declaring that Underwriters have no obligation to pay any judgment entered
against the Cresci Defendants or settlements reached by the Cresci Defendants in the Shine
Action;

9. Declaring that Underwriters are entitled to reimbursement for any costs and fees
incurred in defending the Cresci Defendants in the O’Donnell Action; an

10. Awarding Underwriters costs and attorneys’ fees incurred in this Action and any

and all such further relief as the Court deems just and appropriate.

Kennedys CMK LLP
Attorneys for Plaintiff, Certain Underwriters

at Lloyds, London, Subscribing to Policy
No. SYN-108553

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